Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 1 of 38
          Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 2 of 38




                                     DECLARATION OF RICK A. CIGEL

 2            I, Rick      Cigel, declare and state as follows:

 3            1.        I am an attorney at law duly licensed to practice before all the courts         the          of

 4     California. I have personal knowledge of the matters set forth below, and            called upon to do so,

 5     I could and would testify competently thereto.

 6            2.        I am the principal at The Cigel Law Group, P.C., counsel for Defendant Doe 1 and

 7     Michael J. Schroeder. Doe 1 is an unnamed and unserved defendant and files this motion

 8         or her fictitious name in order to preserve anonymity.            No reference to Doe 1 in this

 9     declaration or in the opposition brief is meant to convey any information about the gender or Doe

10     1 or the number of individuals involved.

11            3.        Mr. Schroeder is a resident of Orange County, California and is an attorney

12 licensed to practice law in California.

I3                      Attached hereto as Exhibit "A" is a true and correct copy of the inaugural

14     written about Charles Munger, Jr. on the website "The Munger Games", which is located on the

15     internet at www.mungergames.net. The article explains the purpose ofthe website as follows:

16            "Welcome to The Munger Garnes, the purpose of which is to inform, educat[e] and

17 ·          entertain on the subject of the one-man maelstrom of money intent on re-making

18 ·          California Republicanism in his bow-tied image.

19            Munger burst into California Republican politics a few short                    and          left

              a trail of political debris in his wake:

              -Prop. 14, which created the top-two primary system that pits Republicans             """''·H ...,,.

              Republicans in the general election.

              -Prop. 20, which gave us the Citizens Redistricting Commission that was expertly

              gamed by the Democrats to the detriment of Republicans.

              -A divisive effort to reduce the CRP platform to mush.

              -Enormous expenditures to defeat the already dwindling number             GOP Assembly

              incumbents.

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                                DECLARATION OF RICK A.            Case No. 13-cv-01465 Sl
          Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 3 of 38




              That's just the top-line scan of the damage Munger has and will inflict.           are

 2            weirder tales still to tell.

 3            Who is Charles Munger, Jr.? What makes him tick? What has he done? What will

 4            he do?"

 5            5.      The Munger Garnes is a wholly noncommercial blog that posts articles and

       commentary about California politics. Its articles and commentary are not only viewed directly

       by internet viewers, but are either reposted or commented on by multiple other websites that

 B exclusively with politics and current events that affect California.

 9            6.      The Munger Games website has a graphic above every article that will not print

10     through a nom1al computer print command.         The graphic says "THE MUNGER GAMES" in

"I 1   large and bold type, and has the motto "WASTING HIS PATRIMONY" in quotation

12     immediately below. To the left of the text is an image of a bow tie made out       a hundred dollar

13     bill, which is a satirical reference to the fact that Munger frequently wears bow ties. ln order to

14     show the graphic, we printed a "screen shot" of the website and attach it hereto as Exhibit "B".

15            7.      The website                           contains reports on politician's campaign

16     finances.   On September 20, 201         I conducted a search of campaign finances          plaintiff

17     Harmeet K. Dhillon ("Dhillon"). Attached hereto as Exhibit "C" is a true and correct copy            the

18     results of that search. As shown on the second page, her top contributor was Charles Thomas

19     Munger, Jr., who donated $7,500.00.

20            8.      Attached hereto as Exhibit "D" is a true and correct copy ofthe February 1 2013

21     blog post from The Munger Garnes, containing the article entitled ''Meet Harmeet".              On

22     website, the article has the same logo shown in Exhibit "B".     The original posting of the article

23     contained the headshot photograph of Dhillon directly below the headline "Meet Harmeet".

       photograph has been removed.          In place of the photograph, the article now         the words
25     "Harmeet Dhillon" and "Harmeet Dhillon".

26            9.      In the "Meet Hanneet" article, the anonymous author addresses        detail the social

27     and political positions that Dhillon supported through her ACLU membership. The article               on


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                               DECLARATION OF RICK A. CIGEL, Case No. 13-cv-01465 SI
            Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 4 of 38




        to observe that Munger was supporting Dhillon as "a leader and spokesperson for the

        Republican Party" and stressed that Dhillon's liberal values were not consistent with the values of

        the Republican Party. As the author wrote:

    4           "These are the values to which Harmeet Dhillon pledged her commitment in

    5           this is the individual Charles Munger, Jr. wants to elect as a leader and spokesperson for

    6           the California Republican Party.

    7           The question California Republican activists, leaders and elected officials         to

    8           themselves is whether these are the values of Republican Party? How much will we

    9           compromise ourselves by following the prescriptions of Dr. Munger in the vain hope

10              'broadening our appeal?"'

11              10.     Attached hereto as Exhibit "E" is a true and correct copy of the subpoena

12      April 11, 201     issued from the Northern District        California and served on New Dream

13      Network, LLC.

14              11.     Attached hereto as Exhibit "F" is a true and correct copy of the "Order Denying

I5      Administrative Motion For Order Compelling Compliance With Subpoena", issued by the

16      Northern District of California on July 21,2013 as Doc. 19.

                12.     In response to the court's order denying      administrative motion, Dhillon had a

        subpoena issued on July       2013 in the Central District of California to New Dream Network,

        LLC, the webhost of The Munger Games. The subpoena attached the Amended Order Granting
        Plaintiff's     Parte Application for Leave to Take Limited Discovery Prior To A Rule 26(f)

        Conference from the Northern District of California dated April 9, 2013 (Doc. 8). A true and

        correct copy    the subpoena is attached hereto as Exhibit "G".

                13.     Attached hereto as Exhibit "H" is a true and correct copy of a motion I      in the
        Central District of California to quash the subpoena directed to New Dream Network, LLC. The

25      motion is set for hearing on October 22, 2013.
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                               DECLARATION OF RICK A. CIGEL, Case No. 13-cv-01465 Sl
           Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 5 of 38




               14.     Attached hereto as Exhibit "I" is a true and correct copy of an article       the

    2   Research Center for the People & the Press.        The title of the article is "Internet           on

    3   Television as Public's Main News Source."

    4          15.     Attached hereto as Exhibit "J" is a true and correct copy of an article that posted on

    5   the Flash Report website (www.flashreport.org) on September 29, 2013. The            of the article is

    6   "Whether Critical of King George, or Charles Munger, Jr., Anonymous Speech should Be

        Protected."

               I declare under penalty of perjury under the laws of the State of California that

    9   foregoing is true      correct and that this declaration was executed on September 30, 2013 at

10      Angeles, California.

11

12

                                                     Rick A. Cigel

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                                                                Case No. 13-cv-01465 SI
          Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 6 of 38




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                           EXHIBIT A
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                     Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 7 of 38


Welcome To The Munger Games! 1The Munh James                                                         http://www.mungergames.net/?p=7




           Welcome To The Munger Games!
                                                    How much damage can one man do to a political party?

                                                                                                                                •
                                                    In the case of Charles Munger, Jr. and the California Republican
                                                    Party, the answer is: a lot


                                                    Welcome to The Munger Games, the purpose of which is to in-
                                                    form, education and entertain on the subject of the one-man
                                                    maelstrom of money intent on re-making California Republican-
    •,                                              ism in his bow-tied image.

            Charles Munger, Jr.
                                                    Munger burst into California Republican politics a few short
                                                    years ago. and the has left a trail of political debris in his wake:


               • Prop. 14, which created the top-two primary system that pits Republicans against Republi-
                 cans in the general election.


               • Prop. 20, which gave us the Citizens Redistricting Commission that was expertly gamed by
                 the Democrats to the detriment of Republicans.


               • A divisive effort to reduce the CRP platform to mush.


               • Enormous expenditures to defeat the already dwindling number of GOP Assembly incum-
                 bents.


    .·     That's just the top-line scan of the damage Munger has and will inflict. There are weirder tales still to
  .•.      tell.


           Who is Charles Munger,jr.?What makes him tick? What has he done? What will he do?

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           Share this:


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                    Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 8 of 38

Welcome To The Munger Games! i l'he   Mun~;,   james                                           http://www.mungergames.net/?P"'" 7
                                                                                                                             ~.




           This entry was posted in California Republican Party. Charles Munger. Intra-party mayhem. Redistrict-
           ing, Top-Two Primary on january 30, 2013 [http://\I\IWW.mungergames.net!?p=7].




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                        Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 17 of 38

Meet Harm   t   I The Munger Games                                                                         http://www.mungergames.nett1p=4l




            Meet Harmeet
                                                        We have asked the question. "Who is Charles Munger, Jr.?"
                Harmeet Dhillon
                Harmeet Dhillon
                                                        Although we haven't finished answering it we also need to ask
                                                         ourselves, "What does he want?"


            To begin with, he wants to control and re-shape the California Republican Party, and the way he is go-
            ing about it right now is by supporting Harmeet Dht!lon for CRP Vice Chairman. Dhillon is the chair of
            the San Francisco Republican


            It will take more than one blog post to paint a complete picture of Harmeet Dhillon, but we can start
            with her deep, active involvement with the Ameri-can Civil Uberties Union.


            Yes, that ACLU.


            In late 2002. Dhillon was running for the Board of Directors of the ACLU of Northern California. Here is
            her candidate statement, as it appeared in the November-December 2002 edltton of ?.CW News":


            "I om deeply honored to have been nominated as o candidate for the Board of Directors. I am on attorney in
            Polo Alto, where I practice complex commercial litigation. Both my career os a lawyer and myformer career
            os a journalist have impressed upon me the crucial importance of the First Amendment to our democracy.
            Throughout my legal career I have performed pro bono legal services for victims of human rights and civil
            rights violations, domestic abuse and employment Discrimination, and have been recognized for my work on
            behalf of the Lawyers' Committee for Human Rights and the Network for Women's Services. 1om committed
            to the values championed by the ACLU-NC."


            The same newsletter gives some alarming examples of the ACLU values to which Dhillon vows she is
            committed. The italicized sections are taken directly from the ACU newsletter.


            Removing "Under God" from the Pledge of Allegiance
            In striking down the McCarthy-era law that: rewrote the Pledge of Allegiance to insert the words
            "under God," Newdow v. United States Congress, the Ninth Circuit breathed life into the Pledge's
            stirring ideal of a country 'With liberty and justice for all." The decision secured liberty for children of



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                                                                                                        EXHIBIT D Page 1
                     Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 18 of 38


Meet Hann     • The Munger Games                                                                          http://www.mungergames.netl?P""_41


            minority faiths who have quietly been denied religious freedom for nearly 50 years, when pressured
            in public school to pledge allegiance to a God they do not worship.

            Opposition to Anti-Pornography Filters on Public library Computers
            'J4s the Children's Internet Protection Aa (CIPA) went into effect this September, activists and students around
            the nation criticized the new law as "closing the door to knowledge." CIPA requires public schools and li-
            -braries to block Internet access to materials deemed "harmful to minors" in order to receive certain federal
            funds.

            ~fundamental goal    of the Internet is to open the door to knowledge, but internet blocking software slams
            this door," ACLU-NC staff attorney Ann Brick told reporters.

            Support of Drivers licenses For Ufepllmmigrants ...Without Criminal Background Checks)
            In an election year; Gov. DG!Iis needs the support of immigrant communities. Nevertheless. the
            Governor vetoed AB 60 (Cedilla-D). a crucial bill that would have allowed immigrants in the
            process of applying for legal status to receive a driver's license. A companion bill 58 804 (Polanco-
  ·.   ·    D), which included provisions requiring that applicants give a digital thumbprint, undergo a criminal
            background check, and submit proof of employment in California, was also returned unsigned.

            The ACLU and immigrants' rights groups strongly opposed the background check provisions
            demanded by Gov. DG!Iis ond included in 58804. because they are unrelated to a person's ability to drive, do
  ·. ...    not address public safety concerns, and discriminate against immigrants.

            Educating School Children on LGBT Issues
            Focusing on schools, [Matt] Coles [director of the notional ACW Lesbian & Gay Rights and AIDS Project] ex-
            plained, is important for two reasons: LGBT students are extremely vulnerable, and we can achieve great
            progress by educating youth about LGBT rights. He explained that school officials know they cannot d;scrimi-
            nate openly against lesbian and gay student groups, so they are nOMt setting up bureaucratic obstacles to the
            recognition of such clubs. The Projects are actively helping courageous students across the country deal with
            these obstacles.

            Redefining Family
             In the past, Coles soid, opponents ofgay and lesbian equality hove used the issue of 'family" to
             attack gay people. More recently. however, public opinion is changing. That change is due in part to the
            ACLU's public education campaign based on a Rorida case Jn which the Projects are representing two gay
            foster parents fighting to keep their family of seven intact in spite of efforts by the state to get a heterosexual
            family to adopt the children. In part because the case involves fiN-positive children and attracted the
            celebrity support of Rosie O'Donnell, it has dramatically changed Americans' perceptions of lesbian and gay
            men and their families.



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2of3
                                                                                                        EXHIBIT D Page 2
                      Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 19 of 38


Meet Harm   t   I The Munger Games                                                                   http://www.mungergames.net/"~:=41
                                                                                                                                  •
            The Project's work, like the ACLU's efforts in general, is grounded in the belief that government must fol-
            low the rule of law, said Coles. He expressed dismay about how the federal government is flouting the
            rule of law, whether in its pursuit of the 'war on terrorism," military action in Iraq, or the denial of les-
            bian and gay equality.

            "Under God" in the Pledge of Allegiance oppresses children? Giving drivers licenses to people here
            illegal without even a background check to exclude criminal aliens? Opposing anti-porn filters in li-
            braries? Injecting LGBT advocacy groups' talking points into public schools?


            And believe it or not, there's more. We'll bring that to you tomorrow.


            These are the values to which Harmeet Dhillon pledged her commitment in 2002. And this is the indi-
            vidual Charles Munger, Jr. wants to elect as a leader and spokesperson for the California Republican
            Party.


            The question California Republican activists, leaders and elected officials need to ask themselves is
            whether these are the values of Republican Party? How much will we compromise ourselves by follow-
            ing the prescriptions of Dr. Munger in the vain hope of "broadening our appeal'?


            Share this:



            This entry was posted in California Republican Party, Charles Munger, Harmeet Dhillon. Principles on
            February 12.2013 {http://www.mungergames.netl?p=41J.




            2 thoughts on "Meet Harmeet"



            Pingback: Meer Harmeer. Part 2 1 The Munger Games


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               Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 20 of 38




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Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 22 of 38


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                Attachment A




                                                    EXHIBIT E Page       21
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  Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 26 of 38

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         Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 28 of 38




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           Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 29 of 38



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     7
                                       IN THE UNITED STATES DISTRICT COURT
     8
     9                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

     10

     11   HARMEET DHILLON,                                         No. C 13-1465 Sl

     12                   Plaintiff,                               ORDER DENYING ADMINISTRATIVE
                                                                   MOTION FOR ORDER COMPELLING
     13     v.                                                     COMPLIANCE WITH SUBPOENA

     14   DOES I -10.
     15                   Defendant.
     16   -------------------------------------~'
     17           Plaintiff Harmeet Dhillon   flied an administration motion for an order compelling compliance
     18   with a Rule 45 subpoena. The subpoena was served on April l t, 2013, on a third party, New Dream
     19   Network. LLC, dba DreamHost ("New Dream Network"), and seeks the identities ofthe Doe defendants

     20   named in the complaint. The documents attached to plaintiff's motion show that New Dream Network
     2J   was served with the subpoena at 818 West Seventh Street, 2nd Floor, Los Angeles, CA 90017, and that
     22   the subpoena directs New Dream Network to produce documents to plaintiff's counsel at 177 Post St.,
     23   Suite 700. San Francisco. CA 94108. Plaintiff states that New Dream Network did not object to the
     24   subpoena and also did not produce any documents in response to the subpoena by the June 21, 20 13
     25   deadline. Plaintiff seeks an order compelling New Dream Network to comply with the subpoena.                  ·,.
     26           Rule 45 directs that "a subpoena for production or inspection shall issue from the court for the
..
     27   district in which the production or inspection is to be made." Fed. R. Civ. P. 45(a)(2). Rule 45 also
     28   imposes territorial limits upon the area in which a subpoena may be served. directing inter alia. that "a
          subpoena may be served at any place within the district of the court by which it is issued. or at any place




                                                                                         EXHIBIT F Page 1
          Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 30 of 38



                 Case3:13-cv-01465-SI Document19 Fied0?/21113 Page2 of 2



          without the district that is within 100 miles of the place of the deposition, hearing, trial, production. or

      2   inspection specified in the subpoena ...." Fed. R. Civ. P. 45(b)(2). Here, the subpoena was served
                                                                                                                         .
      3 outside the Northern District of California and it directs New Dream Network to produce documents
      4   in San Francisco, which is more than t 00 miles of the address at which New Dream Network was
      5   served. ·•[N]onparties cannot be required to produce documents at a location more than I 00 miles from
                                                                                                                         •
                                                                                                                         ,.

      6   their home or business." Nieman v. Linkedln Corp., No. CV 12-80258 PSG, 2013 WL 685203, at *2
      7   (N.D. Cal. Feb. 25, 2013); Miller v. Holzmann, 471 F. Supp. 2d 119, 121 (D.D.C. 2007) (jTJhe

      8   limitation in Rule 45 unequivocally applies both to attending a deposition to testify and to being·
      9   required to produce documents at a distance more than l 00 miles from one's home."); see also Wright

     10   & Miller: federal Practice & Prgcedure § 2454, Service of a Subpoena (2013); Hon. William W.
     II   Schwm:er, Hon. A. Wallace Tashima & James M. Wagstaffe, federal Civil Procedure Before Trill §'
     12   II :2250 (2013).
     J3           Accordingly, the subpoena is invalid and cannot be enforced by this Court. Plaintiff should seek
     14   a subpoena from the Central District ofCalifornia that directs production of documents in Los Angeles.

     J5 See id. at§§ J I :2262-11:2270. Plaintitrs administrative motion is DENIED. Docket No. 16.
     16

     J7           IT IS SO ORDERED.
     18
          Dated: July 21.2013
     19                                                           SUSAN JLLSTON
..   20
                                                                  UNITED STATES DISTRICT JUDGE

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                                                                                        EXHIBIT F Page 2
         Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 31 of 38




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                          EXHIBIT G
                   Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 32 of 38




  AO llliB (Rev. 06109) Subpoooa to Produoo DoolllllC!lts, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                for the
                                                                Central District of California

                          Harmeet K. Dhillon                                        )
                                  Plaintiff                                         )
                             v.                                                     )       Civil Action No.           13-cv-01465-JCS
              DOE 1, an unknown individual, et a!.                                  )
                                                                                    )       (If tile action is pending in another district, state where:
                                 Defondant                                          )               Northern District of California

                          SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                            OR TO PERMIT INSPECTION Oil' PREMISES IN A CIVIL ACTION

  To: New Dream Network, LLC, dba DreamHost, c/o CT Corporation System (C0168406), 818 West Seventh Street,
      Los Angeles, CA 90017
         sf
          Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
  material: Documents sufficient to identify the account information for the domain name "Mungergames.net,• hosted by
            DreamHost, Including the names, addresses, telephone numbers, and e-mail addresses of the owner(s) of hte
            domain name "Mungergames.net." You are to comply with this subpoena pursuant to the terms set forth in the
            Amended Order attached hereto as Attachment A.




      0 Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.




         The provisions of Fed. R.. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
 45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
 attached.


 Date:         07/22/2013

                                    CLERK OF COURT
                                                                                                OR



The name, address, e-mail, and telephone number of the attorney representing (name ofparty)
- - - - - - - - - - - - - - - - - - - - - - - - - , w h o issues or requests this subpoena, are:
 Harold~· Smif!1; Krist~ L. Shoqulst, Dhillon & Smith LLP, 177 Post Street, Suite 700, San Francisco, CA 94108; email
 kshoqwst@dhlllonsmith.com; Tel: 415-433-1700.




                                                                                                                                   EXHIBIT G Page 1
Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 33 of 38

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              Attachment A
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                                                    EXHIBIT G Page 2
         Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 34 of 38




                Case3:13~cv~01465-JCS DocumentS         Filed04/09/13 Pagel of 3



     HAROLD P. SMITH, ESQ. (SBN: 126985)
 1
     psmith@dhlllonsmith.com
 2   KRISTA L. SHOQUIST, ESQ. (SBN: 264600)
 3   kshoquist@dhillonsmith.com
     DHILLON & SMITH LLP
 4
     177 Post Street, Suite 700
 5   San Francisco, California 94108
     Telephone: (415) 433-1700
 6
     Facsimile: (415) 520-6593
 7
 8   Attorneys for Plaintiff
     Harmeet K Dhillon
 9
10                               UNITED STATES DISTRICT COURT
11
                           NORTHERN DISTRICT OF CALIFORNIA
12
13                                    San Francisco Division

14   HARMEET K. DHILLON,                             Case No. 13-01465-JCS
15
                    Plaintiff,                       AMENDED1 [PR:OPOSBOJ ORDER
16
                                                     GRANTING PLAINTIFFS EX
17                  v.                               PARTE APPLICATION FOR LEAVE
18                                                   TO TAKE LIMITED DISCOVERY
     DOE 1, an unknown individual, et al.,           PRIOR TO A RULE 26(f)
19                                                   CONFERENCE
20                  Defendants.
21
22   1
       Plaintiffs Ex Parte Application For Leave to Take Limited Discovery Prior to a Rule
23   26(f) Conference, filed April 2, 2013 (Doc. 2), sought leave to serve a subpoena on "New
24   Dream Network, LLC, on behalf of DreamHost." However, the original [Proposed}
     Order submitted with that ex parte application (Doc. 2-1), and the subsequent Order
25
     filed onApril3, 2013 (Doc. 6), contained a typographical error with respect to the name
26   of the subpoenaed entity, listing it as "DreamHost Network, LLC, on behalf of
     DreamHost." Plaintiff thus respectfully requests that the Court remedy this error by
27
     granting this Amended [Proposed] Order, which is identical in substance to the Court's
28   Order of April 3rd, other than with respect to the name of the entity to be subpoenaed.


     Amended [Proposed] Order                    1              DHILLON & SMITH LLP




                                                                                EXHIBIT G Page 3   ...
            Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 35 of 38




                     Case3:13-cv-01465-JCS DocumentS Filed04/09/13 Page2 of 3




     1          TI1e Court, having reviewed Plaintiff's Ex Parte Application for Leave to Take
 2       Limited Discovery Prior to a Rule 26 Conference and the supporting documents
 3       submitted therewith, and good cause appearing therefore, hereby grants Plaintiff's Ex
 4       Parte Application and orders as follows:
 5
                1.     IT IS HEREBY ORDERED that Plaintiff i.e; allowed to serve immediate
 6
         discovery on New Dream Network, LLC, on behalf of DreamHost, in order to obtain
 7
         the identity of the Doe Defendants listed in Plaintiff's Complaint by serving a Rule 45
 8                                                                                                              •
         subpoena that seeks information sufficient to iderttify each such Defendant, including
 9
         the account infonnation for the domain name "Mungergames.net/' hosted by
10
         DreamHost, and the name, addresses, telephone numbers, and email addresses of each
11
12       such Defendant.

13              2.     IT IS FUTHER ORDERED that Plaintiffs counsel shall issue subpoena(s}

14       in substantially the same form     as the example attached as Exhibit 1 to Plaintiff's Ex Parte
15       Application for Leave to Take Limited Discovery Prior to a Rule 26 Conference, with
16       each subpoena including a copy of this Order.
17              3.     IT IS FURTHER ORDERED that New Dream Network, LLC, will have 3
18       days from the date of service upon it to serve each entity or person whose information
19       is sought with a copy of the subpoena and a copy of this Order. New Dream Network,
20       LLC may serve the entities and persons using any reasonable means, including written
21
         notioe sent to the entity's or person's last known address, transmitted either by first-
22
         class mail or overnight service.
23
               4.      IT IS FURTHER ORDERED that each entity and person and New Dream                      .
24
         Network, LLC, will have 30 days from the date of service upon him, her, or it to file any
25
         motions in this court contesting the subpoena (including a motion to quash or modify
26
27
         the subpoena).lf that 30-day period lapses without the entity contesting the subpoena,

28


         Amended [Proposed] Order                       2               DHILLON & SMITH LLP




                                                                                         EXHIBIT G Page 4
        Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 36 of 38




                 Case3~13-cv-01465-JCS DocumentS Filed04/09/13 Page3 of 3




 1   New Dream Network, LLC1 shall have 10 days to produce to Plaintiff the information             •.

 2   responsive to the subpoena with respect to that entity.
 3          5.     IT IS FURTHER ORDERED that, because no appearance by a person at a
 4   deposition is required by the subpoena, instead only production of documents, records
 5
     and the like is required, the witness and mileage fees required by Rule 45(b)(1} of the
 6
     Federal Rules of Civil Procedure do not apply and no such fees need be tendered.
 7
            6.     IT IS FURTHER ORDERED that New Dream Network, LLC, shall not
 8
     asses.<> any charge to the Plaintiff in advance of providing the information requested in
 9
     the subpoena, and that if New Dream Network, LLC, elects to charge for the costs of
10
     production, it shall provide a billing summary and cost reports that serve as a basis for
11
     such billing summary and any costs claimed by such recipient.
                                                                                                         ..
12
13          7.     IT IS FURTHER ORDERED that New Dream Network, LLC, shall

14   preserve all subpoenaed information pending its delivering such information to
15   Plaintiff or the final resolution of a timely filed and granted motion to quash the
16   subpoena with respect to such information.
17          8.     IT IS FURTHER ORDERED that any information disclosed to Plaintiff in
18   response to a subpoena may be used by Plaintiff solely for the purpose of protecting its
19   rights under the Copyright Act, 17 U.S.C. § 101 et seq, and may not be disclosed to
20
     anyone other than the parties in this action and their counsel of record pending further
21
     order of this Court.
22
            IT IS SO ORDERED.
23
24
           Date: _ _ _ _ __. 2013
25
26
27
28


     Amended [Proposed} Order                    3               DHILLON & SMITH LLP




                                                                                 EXHIBIT G Page 5
                 Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 37 of 38




 AO 88B (Rev. 06109) Subpoe!lll ro Produce Documents, Inrormation, or Objects or to Pennit Inspection of Premises in a Civil Actioo {Page 2)

 Civil Action No. 13-cv..01465--JCS

                                                                 PROOF OF SERVICE
                      (This section should not be filed witlz tlze court unless required by Fed. R. Civ. P. 45.)

           Tills subpoena for       (name ofindividual and title,    if any)
 was received by me on (date}
                                        ---------
           0 1 served the subpoena by delivering a copy to the named person as follows:


                                                                                                 on (date)                                ; or
          -------------------------------------------                                                        ----------
           0 I returned th.e subpoena unexecuted because:



           Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
           tendered to the witness fees for one day's attendance, and the mileage allowed by law, in the amount of
           $

My fees are$                                        for travel and $                              for services, for a total of$


          I declare tmder penalty of perjury that this information is true.


Date:
                                                                                                     Server's signature



                                                                                                  Printed name and Iitle




Additional inf01mation regarding attempted service, etc:




                                                                                                                              EXHIBIT G Page 6
                   Case 3:13-cv-01465-SI Document 30-1 Filed 10/01/13 Page 38 of 38




   AO 88B (Rev. 06109) Subpoena to Produce Documents, Information, or Objects or to Permit Inspet:tion of Premises in a Civil Actioll(Page 3)



                                  Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 1211/07)
  (c) Protecting a Person Subjed to a Subpoena.                                      (d) Duties In Responding to a Subpoena.
   (I) Avoiding Vndue Burden or Expense:; Sanctions. A party or                       (1) Produci11g Docume~rts or ElectrOJrically Stored Information.
 attorney responsible for issuing and serving a subpoena must take                   These procedures apply to producing documents or electronically
 reasonable steps to avoid imposing undue burden or expense on a                     stored information:
 person subject to the subpoena. The issuing court must enforce this
 duty and impose an appropriate sanction- which may include lost
                                                                                        (A) Documenls. A person responding to a subpoena to produce
                                                                                     documents must produce them es they are kept in the ordinary
                                                                                                                                                              .:
 earnings and reasonable attorney's fees -on a party or attomey                      course of business or must organize and label them to correspond to
  who Jails to comply.                                                               the categories in the demand.
    (2) Command to Produce Mnte:rials or Permit Inspection.                             (B) Form for Producing Electronicdlly Stored Information Not
    (A) Appearance Nol Required A person commanded to produce                        Specified If a subpoena does not specify a form for producing
 documents, electronically stored information, or tangible things, or                electronically stored information, the person responding must
 to permit the inspection of premises, need not appear in person at the              produce it in a form or forms in which it is ordinarily maintained or
 place of production or inspection unless also commanded to appear                   in a reasonably usable form or forms.
 for a deposition, hearing, or trial.                                                   (C) Electronically Stored Information Produced in Only One
    (B) Objections. A person commanded to produce documents or                       Form. The person responding need not produce the same
 tangible things or to permit inspection ma:y serve on the par!y or                  electronically stored information in more than one form.
 attomey designated in the subpoena a written objection to                              (D) Inaccessible ElectrrmicaflyStored Information. The person
 inspecting, copying, testing or sampling any or all ofthe materials or              responding need not provide discovery of electronically stored
 to inspecting the premises - or to producing electronically stored                  information ti'Om sources thet the person identifies as not reasonably
 information In the form or forms requested. The objection must be                   accessible because of undue burden or cost. On motion to compel
 served befOre the earlier of the time specified for compliance or 14                discovery or for a protective order, the person responding must show
 da:ys after the subpoena is served. If an objection is made, the
 following rules apply:
                                                                                    that the information is not reasonably accessible because ofoodue
                                                                                     burden or cost. If that showing is made, the court may nonetheless
                                                                                                                                                              .   ;

     (i) At any time, on notice to the commanded person, the serving                order discovery from such soun:es if the requesting party shows
 party may move the illlluing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
 or inspection.                                                                     court may speci:ty conditions for the discovery.
     (U) These acts may be required only as directed in the order, and                (2) Claimillg Privilege or Protecti(m.
 the order must protect a person who is neither a party nor a party's                 (A) Information Withheld A person withholding subpoe:nae:d
 officer from significant expense resulting from compliance.                        infOrmation under a claim !hat it is privileged or subject to
  (3) Quos/ling or Modifying a Subpoe11a.                                           protection as trial-preparation material must:
   (A) When Required On timely motion, the iMuing court must                           (i) expressly malre the claim; and
  quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
        (i) illils to allow a reasonable time to comply;                            communications, or tangible things in a manner that, without
        (ii) requires a person who is neither a party nor a party's officer         revealing information itself privileged or protected, will enable the
  to travel more than I00 miles from where that person resides, is                  parties to assess the claim.
  employed, or regularly transacts business in person- except that,                   (B) lfiformation Produced If infom1ation produced in response to a
 subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                   subpoena is subject to a claim of privilege or of protection as trial-
 attend a trial by traveling from any such place within the state where             preparation material, the person making the claim may
 the trial is held;                                                                 party that received the information of the claim and the
       (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
 no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
       (iv) subjects a person to undue burden.                                     or disclose the information until the claim is            must take
     (B) When Permilled To protect a person subject to or affected by              reasonable steps to retrieve the information ifthe party disclosed it
 a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
 subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
      (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
 development, or commercial infurmation;                                           the claim is resolved.
      (ii) disclosing an unretained expert's opinion or information that
 does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert's study that was not requested by a party; or                           who, having been served, fails without adequate excuse to obey the
      (iii} a person who is neither a party nor a party's officer to incur         subpoena. A nonparty's fuilure to obey must be excused ifthe
substantial expense to travel more than J00 miles to attend tria!.                 subpoena purports to require the nonparty to attend or produce at a
    (C) Specifying Conditions as an Alternative. ln tbe ciromnstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(J)(B), the cour1 may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a ~~t~bstantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) en5Ul'es that the subpoenaed person will be reasonably
compensated.




                                                                                                                               EXHIBIT G Page 7
